1/17 New Hire - Welcome Email

From: Brown, Bryan J (Aurora) (bbrown@adt.com)
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Date: Tuesday, January 11, 2022 at 03:02 PM CST

Hello Everyone!!

We are looking forward to meeting you all on Monday 1/17/22, and getting you started with FOSC Provisioning Training!
On behalf of the trainers for your class, | wanted to touch base on a few pieces of information. This class will consist of
both external, internal, and contractor hires which have different expectations on day 1. Please make sure you read
through this thoroughly so you know what to expect and pertains to you. Here is what you need to know.

Training Class Schedule:
e 8 weeks Long for PS/UA and 3 weeks for Customer Inbound
e Monday — Friday
e Times based on your local time zone:
© 07:00 to 15:30 (MST)
© 08:00 to 16:30 (CST)
© 09:00 to 17:30 (EST)

Training Staff:
e Training Manager — Christy Raymer
e Training Lead(s) — Jackie Henderson and Kayla Schultz

Equipment
e Sent to the address you provided as your home address.
e Will arrive anytime between 1/12 to 1/17
e Recommend to wait until Monday to setup equipment, if received prior to Monday 1/17.
e If you are having issues accessing Microsoft Outlook or Microsoft Teams, please reach out to our 24/7
Helpdesk Support Team at 1-877-238-4357.

Day 1 (Monday 1/17) Instructions
Please complete on-line HR paperwork prior to showing up at local Sales and Service Office (SSO).
Arrive on site of the local SSO to complete HR paperwork at your scheduled time.

Please make sure to bring 2 forms of Identification (SS Card
and Gov Issued ID)

Make sure that you have a dedicated work area, somewhere with limited distractions.
Please make sure to join this zoom meeting at some point before 5PM for a test call to ensure everyone is
ready for Day 2:
To speed up that process, you can create a free Zoom account here: (https://zoom.us/) You can
customize your experience and add a picture.
Also, please make sure you are on web cam as well during this test call.

Day 2 (Tuesday 1/18) Instructions
Join the same zoom link to access your Virtual Classroom: (https://adt.zoom.us/j/7124680201)
the start of class.
We will remind you at the end of day 1. ©

Zoom Meeting ID: (https://adt.zoom.us/j/7124680201)
If you have any questions or concerns between now and then, please feel free to reach out. We want to make sure that
you have all of the information that you need!

Internal Team members Only

e Monday is equipment setup for external hires, so you will work your current job function and report during
welcome times as indicated above.

e If you have PTO available in your bucket you are welcomed to use for 1/17, but we still ask that you report
during welcome times as indicated above.

e Tuesday will be your first day of training

e If you are an internal that needs equipment. You will follow the same as process as external hires and use
Monday as equipment set up.

Contractors Converting to ADT ONLY
e You will need to complete i9 paperwork as well going to the local SSO
e You will complete your current job function for Monday 1/17
e Will have an exception entered to go to SSO and complete check-in
e You already have ADT issued equipment.

Contractors
e All applies to you except i9 paperwork and going to SSO

Training Manager Christy Raymer contact # 585-953-9279.
Text message is preferred. Please leave your name if reaching out.

List of Locations
e Please find your name and the SSO address, local time to be on site, and on site contact info will be listed

a. North Texas
1. New Hire: Sonya Chapman, Martina Deshays
2. Onsite time: 13:00 CST
3. Onsite Contact: Alissa Jolly
i. Contact #: 469-208-7644
4. SSO Address: 3220 Keller Springs Rd Suite 130 Carrollton, TX 75006
b. Central Texas
1. New Hire: Stacey Taylor
2. Onsite time: 1/14 at 11:00 CST
3. Onsite Contact: Shawn Harris
i. Contact #: (737) 708-2553
4. SSO Address: 1817 W Braker Ln Suite 400 Bldg F Austin, TX 78758
b. Alabama
1. New Hire: Regina Edlin, Keaonis McGinnis
2. Onsite time: 14:00 CST
3. Onsite Contact: Amanda Wade
i. Contact #: (334) 269-8824
4. SSO Address: 512 Pinnacle Place Suite B-109 Prattville, AL 36066
c. Florida (Northeast)
1. New Hire: Ivy Williams
2. Onsite time: 10:00 EST
3. Onsite Contact: Naomi Roth
i. Contact #: (904) 564-5234

4. SSO Address: 10550 Deerwood Park Blvd Suite 400 Jacksonville, FL 32256
d. Mississippi
1. New Hire: Candice Bullock
2. Onsite time: Between 09:00 CST
3. Onsite Contact: Candie Elliott
i. Contact #: (769) 572-3639
4. SSO Address: 195 Country Place Prkwy Suite A Pearl, MS 39208

Thank you,

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